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McGREGOR W. SCOTT
United States Attorney

 

 

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IN THE UNITED STATES DISTRICT COURT

FOR THE EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA,
CR. No. S-07-0169 GEB
Plaintiff,
PLEA AGREEMENT
v.
DATE: December 7, 2007

LONNIE CHARLES DENISON, TIME: 9:00 a.m.

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Defendant.

I.
INTRODUCTION
A. Scope of Agreement: The superseding information in this
case charges the defendant with a violation of 18 U.S.C. § 1366(b),
Damage to an Energy Facility. This document contains the complete
Plea Agreement between the United States Attorney's Office for the
Eastern District of California (the "government") and the defendant
regarding this case. This Plea Agreement is limited to the United
States Attorney‘s Office for the Eastern District of California and
cannot bind any other federal, state, or local prosecuting,
administrative, or regulatory authorities.

B. Court Not a Party: The Court is not a party to this Plea

COURT: HOn. Garland E. Burrell, Jr.

 

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Agreement. Sentencing is a matter solely within the discretion of
the Court, the Court is under no obligation to accept any
recommendations made by the government, and the Court may in its
discretion impose any sentence it deems appropriate up to and
including the statutory maximum stated in this Plea Agreement. If
the Court should impose any sentence up to the maximum established
by the statute, the defendant cannOt, for that reason alone,
withdraw his guilty plea, and he will remain bound to fulfill all of
the obligations under this Plea Agreement. The defendant
understands that neither the prosecutor, defense counsel, nor the
Court can make a binding prediction or promise regarding the
sentence he will receive.
II.

DEFENDANT'S OBLIGATIONS

A. Guilty Pleas: The defendant will plead guilty to the single
count of the superseding information. The defendant agrees that he
is in fact guilty of this charge and that the facts set forth in the
Factual Basis attached hereto as Exhibit A are accurate.

B. Restitution: The Mandatory Victim Restitution Act requires
the Court to order restitution to the victims of certain offenses.
In addition to that restitution, the defendant agrees
to pay full restitution to the following victims in the amounts

below:
Victim Amount
California Independent System Operator Corporation $39,459

Payment should be by cashier's or certified check made payable to

the Clerk of the Court. Defendant further agrees that he will not

 

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seek to discharge any restitution obligation or any part of such
obligation in any bankruptcy proceeding.

C. Term of Supervised Release: If recommended by the United
States Probation Office, the defendant agrees not to oppose any term
of supervised release.

D. Special Assessment: The defendant agrees to pay a special
assessment of $100 at the time Of sentencing by delivering a check
or money order payable to the United States District Court to the
United States Probation Office immediately before the sentencing
hearing. The defendant understands that this Plea Agreement is
voidable by the government if he fails to pay the assessment prior
to that hearing. If the defendant is unable to pay the special
assessment at the time of sentencing, he agrees to earn the money to
pay the assessment, if necessary by participating in the Inmate
Financial Responsibility Program.

III.
THE GOVERNMENT'S OBLIGATIONS

A. Dismiss the Indictment: The government agrees to move, at
the time of sentencing, to dismiss without prejudice the Indictment
in this case filed on April 26, 2007. The government also agrees
not to reinstate any dismissed count except as provided in this
agreement.

B. Incarceration Range: The government will recommend that the
defendant be sentenced to no more than six months confinement.

C. Acceptance of Responsibility: If the United States
Probation Office determines that a reduction in defendant's offense
level for his full and clear demonstration of acceptance of

responsibility is appropriate under U.S.S.G. § 3E1.1, the government

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will not oppose such a reduction and will so move under §3E1.1(b),
so long as the defendant pleads guilty, meets with and assists the
probation officer in the preparation of the pre-sentence report, is
truthful and candid with the probation officer, and does not
otherwise engage in conduct that constitutes obstruction of justice
within the meaning of U.S.S.G § 3C1.1, either in the preparation of
the pre-sentence report or during the sentencing proceeding.
IV.
ELEMENTS OF THE OFFENSE
A. Elements of the Offense: At a trial, the government would

have to prove beyond a reasonable doubt the following elements of
the offense to which the defendant is pleading guilty,

l. 18 U.S.C. § l366(b) - Damage to an Energy Facility

(a) the defendant did knowingly and willfully damage the
property of an energy facility;

(b) the energy facility was involved in the transmission
and distribution of electricity; and

(c) the damage exceeded $5,000.

V.
MAXIMUM`SENTENCE
A. Maximum Penalty: The maximum sentence that the Court can

impose is as follows:

l. 18 U.S.C. § l366(b) - Damage to an Energy Facility

(a) 5 years confinement,

(b) $250,000 fine, or both,

(c) three year term of supervised release, and

(d) a $100 special assessment.

B. Violations of Supervised Release: The defendant understands

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that if he violates a condition of supervised release at any time
during the term of Supervised release, the Court may revoke the term
of supervised release and require the defendant to serve up to 2
additional years imprisonment.
VI.
SENTENCING DETERMINATION

A. Statutory Authority: The defendant understands that the
Court must consult the Federal Sentencing Guidelines (aS promulgated
by the Sentencing Commission pursuant to the Sentencing Reform Act
of 1984, 18 U.S.C. §§ 3551-3742 and 28 U.S.C. §§ 991-998, and as
modified by United States v. Booker and United States v. Fanfan, 543
U.S. 220, 125 S.Ct. 738 (2005)) and must take them into account when
determining a final sentence. The defendant understands that the
Court will determine a non-binding and advisory guideline sentencing
range for this case pursuant to the Sentencing Guidelines. The
defendant further understands that the Court will consider whether
there is a basis for departure from the guideline sentencing range
(either above or below the guideline sentencing range) because there
exists an aggravating or mitigating circumstance of a kind, or to a
degree, not adequately taken into consideration by the Sentencing
Commission in formulating the Guidelines. The defendant further
understands that the Court, after consultation and consideration of
the Sentencing Guidelines, must impose a sentence that is reasonable
in light of the factors set forth in 18 U.S.C. § 3553(a).

B. Stipulations Affecting Guidelines Calculation: The
government and the defendant agree that there is no material dispute
as to the following sentencing guidelines variables and therefore

stipulate to the following:

 

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l. Offense Level:

(a) 18 U.S.C. § 1366(b) - Damage to an Energy Facility

(1) Base Level Offense: The base level offense for Count
One is six (6). §§§ U.S.S.G. §2B1.1(a)(1).

(2) Specific Offense Characteristics: The direct loss
resulting from the defendant's actions was $20,466 for repair and
restoration of the CAL-ISO computer equipment and replacement of the
“Emergency Power Off” panel. As a result, four (4) additional
levels are added. ld; at (b)(l)(C).

(3) Total Offense Level: The total offense level for the
offense is 10.

2. Acceptance of Responsibility: See paragraph III(B)(Z)
above.

3. Adjusted Offense Level: The parties agree that, with
the exception of an adjustment for acceptance of responsibility, no
Chapter 3 adjustments apply.

4. Criminal History: The defendant's criminal history
will be calculated by the United States Probation Office.

5. Sentencing Range: The applicable sentencing range will
be determined once the Court’s probation officers calculate the
defendant's criminal history category.

6. Departures or Other Enhancements or Reductions: The
parties stipulate and agree that they will not seek or argue in
support of any other specific offense characteristics, Chapter Three
adjustments (other than the decrease for "Acceptance of
Responsibility"), or cross-references. Both parties stipulate and
agree not to move for, or argue in support of, any departure from

the Sentencing Guidelines, or any deviance or variance from the

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Sentencing Guidelines under United States v. Booker, 543 U.S. 220,
125 S.Ct. 738 (2005).
VII.
WAIVERS

A. Waiver of Constitutional Rights: The defendant understands
that by pleading guilty he is waiving the following constitutional
rights: (a) to plead not guilty and to persist in that plea if
already made; (b) to be tried by a jury; (c) to be assisted at trial
by an attorney, who would be appointed if necessary; (d) to subpoena
witnesses to testify on his behalf; (e) to confront and cross-
examine witnesses against him; and (f) not to be compelled to
incriminate himself.

B. waiver of Appeal and collateral Attack; The defendant
understands that the law gives him a right to appeal his conviction
and sentence. He agrees as part of his plea, however, to give up
the right to appeal the conviction and the right to appeal any
aspect of the sentence imposed in this case so long as his sentence
is no longer than the top of the Sentencing Guidelines range
determined by the Court consistent with the stipulations set forth
above about the Sentencing Guidelines variables. He specifically
gives up his right to appeal any order of restitution the Court may
impose.

Regardless of the sentence he receives, the defendant also
gives up any right he may have to bring a post-appeal attack on his
conviction or his sentence. He specifically agrees not to file a
motion under 28 U.S.C. § 2255 or § 2241 attacking his conviction or
sentence.

If the defendant ever attempts to vacate his plea, dismiss the

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underlying charges, or reduce or set aside his sentence on any of
the counts to which he is pleading guilty, the government shall have
the right (1) to prosecute the defendant on any of the counts to
which he pleaded guilty; (2) to reinstate any counts that may be
dismissed pursuant to this Plea Agreement; and (3) to file any new
charges that would otherwise be barred by this Plea Agreement. The
decision to pursue any or all of these options is solely in the
discretion of the United States Attorney's Office. By signing this
Plea Agreement, the defendant agrees to waive any objections,
motions, and defenses he might have to the government's decision.
In particular, he agrees not to raise any objections based on the
passage of time with respect to such counts including, but not
limited to, any statutes of limitation or any objections based on
the Speedy Trial Act or the Speedy Trial Clause of the Sixth
Amendment.

C. Waiver of Attorneys’ Fees and Costs: The defendant agrees
to waive all rights under the “Hyde Amendment,” Section 617, P.L.
105-119 (Nov. 26, 1997), to recover attorneys’ fees or other
litigation expenses in connection with the investigation and
prosecution of all charges in the above-captioned matter and of any
related allegations (including without limitation any charges to be
dismissed pursuant to this Plea Agreement and any charges previously
dismissed).

D. Waiver of DNA Testing: Defendant has been advised that the
government may have in its possession pieces of physical evidence
that could be subjected to DNA testing. The defendant understands
that the government has not tested any of these pieces of physical

evidence and does not intend to conduct DNA testing of any of these

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items. Defendant understands that, before entering guilty pleas
pursuant to this Plea Agreement, he could request DNA testing of
evidence in this case. The defendant further understands that, with
respect to the offenses to which he is pleading guilty pursuant to
this Plea Agreement, he would have the right to request DNA testing
of evidence after conviction under the conditions specified in 18
U.S.C. § 3600. Knowing and understanding his right to request DNA
testing, the defendant knowingly and voluntarily gives up that right
with respect to both the specific items listed above and any other
items of evidence there may be in this case that might be amenable
to DNA testing. The defendant understands and acknowledges that by
giving up this right, he is giving up any ability to request DNA
testing of evidence in this case in the current proceeding, in any
proceeding after conviction under 18 U.S.C. § 3600, and in any other
proceeding of any type. The defendant further understands and
acknowledges that by giving up this right, he will never have
another opportunity to have the evidence in this case, whether or
not listed above, submitted for DNA testing, or to employ the
results of DNA testing to support a claim that defendant is innocent
of the offenses to which he is pleading guilty.
VIII.
ENTIRE PLEA AGREEMENT

Other than this Plea Agreement, no agreement, understanding,
promise, or condition between the government and the defendant
exists, nor will such agreement, understanding, promise, or
condition exist unless it is committed to writing and signed by the
defendant, counsel for the defendant, and counsel for the United

States.

 

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IX.
APPROVALS AND SIGNATURES
A. Defense Counsel: I have read this Plea Agreement and have
discussed it fully with my client. The Plea Agreement accurately
and completely sets forth the entirety of the agreement. 1 concur
in my client's decision to plead guilty as set forth in this Plea

Agreement.

DATED: l;lih%{(§i% <::5§;;%/<z:}€§:/L`/L/A\___,

RACHELLE BARBOUR
Attorney for Defendant

 

 

B. Defendant: 1 have read this Plea Agreement and carefully
reviewed every part of it with my attorney. 1 understand it, and 1
voluntarily agree to it. Further, 1 have consulted with my attorney
and fully understand my rights with respect to the provisions of the
Sentencing Guidelines that may apply to my case. No other promises
or inducements have been made to me, other than those contained in
this Plea Agreement. In addition, no one has threatened or forced
me in any way to enter into this Plea Agreement. Finally, 1 am

satisfied with the representation of my attorney in this case.

DATED: § /?~~/‘/"97

 

 

LONNIE CHARLES DENTSON
Defendant

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C. Attorney for United States: 1 accept and agree to this Plea
Agreement on behalf of the government.

McGREGOR W. SCOTT
United States Attorney

DATED: /;€ //¢/av By= 411
t LE REARDON

Assistant U. S. Attorney

 

 

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EXHIBIT "A"
Factual Basis for Plea

The parties agree that if this matter proceeded to trial, the
United States would establish the following facts beyond a
reasonable doubt:

California Independent Systems Operator (CAL-ISO) is a not-for-
profit public benefit corporation charged with operating the
majority of California's high voltage wholesale power grid. Under
the law, CAL-ISO is an “energy facility" because it is "a facility
that is involved in the production, storage, transmission, or
distribution of electricity."

The defendant worked as a contract employee at CAL-ISO. His
duties included computer applications at the facility. On or about
April 15, 2007, the defendant's access privileges to the computer
system were cut off.

On April 15, 2007, at 11:15 p.m., the defendant entered CAL-
ISO. Upon entering the building, the defendant initially tried to
log onto his computer from his work station, as well as a second
computer terminal in the facility. These attempts were
unsuccessful. The defendant then went to the “Outer Data Center.”
The computer systems within the "Outer Data Center" control computer
applications which are used to "talk and communicate" to the
electricity market. The "electricity market" consists of power
generating facilities that work together to ensure electricity needs
are met for the western United States.

1n the “Outer Data Center" is an “Emergency Power Off” button.
The defendant broke the glass cover and pushed the “Emergency Power

Off” button in the “Outer Data Center.” There was no failure in the

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computer system that would justify pushing the “Emergency Power Off”
button. The damage caused by the defendant's actions exceeded
$5,000.

After pushing the button, the defendant left the facility and
returned to his home in South Natomas. Early in the morning on
April 16, 2007, the defendant spoke with a longtime friend. The
defendant admitted to his friend that he had “done something bad.”
The defendant admitted to his friend that he had pressed the
“Emergency Shut Off.” He also told his friend that he tried to
“shut off the power grid.”

As a result of his position at CAL-ISO, the defendant had
knowledge of the effect that pushing the “Emergency Power Off”
button would have. The disruption caused by shutting off the
computers prevented CAL-ISO from communicating to the electricity
market for approximately two hours, thus leaving the electrical
power grid vulnerable to shortages. CAL-ISO lost power for
approximately two hours after the defendant pressed the “Emergency
Shut Off;” however, no disruptions in the power grid occurred as a

result of the defendant's actions.

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